                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE NORTHERN DISTRICT
                          OF TEXAS FT. WORTH DIVISION

   EUGENIO VARGAS                                §
   Plaintiff/Counterclaim Defendant              §
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                                                 §                      Case No. 4:22-CV-00430-Y
                                                 §
                                                 §
   ASSOCIATION OF                                §
   PROFESSIONAL FLIGHT                           §
   ATTENDANTS, JULIE HEDRICK,                    §
   ERIK HARRIS                                   §
                                                 §
                                                 §
  Defendants/Counterclaim Plaintiff.             §

                PLAINTIFF’S BRIEF IN SUPPORT OF ITS RESPONSE TO
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to Fed. R. Civ. P. 53(f)(2), Fed. R. Civ. P. 56(c) and Local Rules 7.1, 7.2, 56.4

and 56.5, Plaintiff, Eugenio Vargas (“Vargas”), respectfully submits his brief in support of

Plaintiff’s, Association of Professional Flight Attendant (“APFA”), Response to Defendant’s

Motion for Summary Judgment. Defendant filed its Motion for Summary Judgment [PageID 2420;

Docket No. 43] on September 20, 2022. The Judge-Specific Requirements make entry of a scheduling

order a precondition to filing a motion summary judgment. No scheduling order has been entered in the

matter before the court. Defendant motion is untimely filed. For these reasons, Defendant’s Motion for

Summary Judgment should be denied. Plaintiff respectfully requests that the Court deny Defendant’s

Motion for Summary Judgment if not based on time-specific requirements, then due to a contested

issue of material fact. Plaintiff will show the court as follows.
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                                           I. INTRODUCTION

        Vargas is a member in good standing of the APFA union and the Former National

Treasurer. Plaintiff was charged with violations of the APFA policy based primarily on alleged

overpayments he made to Robert “Bob” Ross, Former National President (“Ross”). The National

Officers and counsel for the union cited an accounting firm’s review of the payments Vargas made

to Ross under his Transition Agreement, and that the accounting firm discovered Ross was

overpaid. 1 Thereafter, two union members, Melissa Chinery-Burns and Sandra Lee, filed charges

against both Ross and Vargas. 2 Plaintiff prepared and defended himself in the union’s internal

dispute procedure (“arbitration”) wherein Plaintiff issued subpoenas for documentation and

witness testimony from the union. 3 The internal dispute procedures resulted in Plaintiff being

disciplined. In the union’s disciplinary hearing, Plaintiff was found to have violated his fiduciary

duty, subsequently banned for life from holding any union-elected position and disciplined in the

amount of $30,963.03 to be paid to the union.4

        After issuance of the Arbitrator’s award against Vargas, McGaughey, Reber and

Associates, Inc. dba Diversified Credit Systems (“Diversified”) sued Ross to collect the alleged

overpayments made by Vargas. In its Original Complaint, Diversified attached a never-before-

seen letter (“Confidential Memo”) from the accounting review the union had cited as the



1
  Docket No. 1, Pl. Original Compl. Arbitration Award, PAGEID 15; Martin Aff. [Appendix p. 16-20]; Email from
Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15].
2
  It should be noted that Chinery-Burns and Lee also filed charges against Nena Martin, the Vice-President during
the Ross Administration, however as of October 14, 2022, the Arbitrator summarily dismissed all charges against
Ms. Martin after finding that Chinery-Burns and Lee submitted false evidence to the APFA Executive Committee to
procure a finding of validity, specificity, and timeliness.
3 The amount of the award was substantially increased in violation of the APFA Const. against Ex Parte
Communications, as Plaintiff was never given any copies of the audit performed, and an opportunity to object or
respond prior to the arbitrator amending his award. The court should note, this is despite requests from Defendant’s
Counsel and the parties to the Arbitration for copies of the audit review.
4
  Docket No. 1, Pl. Original Compl. Arbitration Award, PAGEID 15; Martin Aff. [Appendix p. 16-20]; See Email
from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15].
                                                            5
foundation for the disciplinary charges against Plaintiff and Ross. The Confidential Memo states

“Please note the Bob Ross confidential transition agreement states that he will be paid all of his

accrued and unused sick and accrued and unused vacation time. This agreement doesn't specify

that the payments be made in accordance with the policy manual guidelines. Consequently, these

payments appear appropriate and in compliance with the transition agreement.”5

         Neither APFA’s National President, Julie Hedrick, nor APFA’s National Treasurer, Erik

Harris, turned over a copy of the Confidential Memo to the Board of Directors, the Executive

Committee, the Plaintiff during his internal arbitration, nor Ross during his internal arbitration.

The National Officers received this Confidential Memo in conjunction with the calculations of

Ross’s alleged overpayments on October 22, 2020. The National Officers intentionally deceived

and withheld this document and other pertinent facts to acquire a favorable arbitration award

against Plaintiff and Ross, to mar their reputations, and to bar from ever holding an elected position

within APFA. Plaintiff believes this is a result of his support of Ross, and his public stance against

an upcoming proposed merger between APFA and another Flight Attendants Union—the

Association of Flight Attendants (“AFA”). Vargas contends that withholding the Confidential

Memo from the APFA Board of Directors, Executive Committee, and during his arbitration was a

violation of, among other things, his right to a fair hearing under the Labor Management Reporting

and Disclosure Act § 101(a)(5).

         On July 14, 2022, Defendant, APFA, filed a Motion to Dismiss Plaintiff’s Claims for Relief

and Brief in Support Docket No. 24 (hereinafter “Motion to Dismiss”). Plaintiff filed a Second

Amended Response to the Motion to Dismiss on September 15, 2022, Docket No. 41. On



5
  Docket No. 1, Pl. Original Compl. Confidential Memorandum, ¶ 17, 18, 19 PAGEID 4-5, 52; Confidential Memorandum,
[Appendix p. 1-3].
                                                           6
September 20, 2022, Defendant, AFPA, filed a Motion for Summary Judgment and Brief in

Support, Docket No. 43, arguing that it’s entitled to Summary Judgment to enforce its Arbitration

Award. APFA argues that it’s entitled to Summary Judgment based on judicial deference to

arbitrations conducted by employers under a Collective Bargaining Agreement. 6 Defendant fails

to outline the elements or even establish a viable legal basis for granting a summary judgment in

its favor to enforce the Arbitration Award, particularly considering Defendant’s failure to address

the union’s fraud and harassment. It asserts legal arguments that have no foundation in the annals

of labor law and continues to ignore all facts related to its fraudulent conduct prior to, during, and

after the union’s disciplinary arbitration procedure.


                                         II.     STATEMENT OF THE CASE

          The APFA Constitution provides no means for the union to bring disciplinary charges

against a member other than by another member, so an action brought on behalf of the union must

be brought by an individual member. Plaintiff, Eugenio Vargas (“Plaintiff”) seeks damages

alleging unlawful violations of the Labor Management Reporting and Disclosure Act, 29 U.S.C. §

411, et seq. (“LMRDA”), from the Association of Professional Flight Attendants Union

Constitution, and Breach of Fiduciary Duty as provided for under Texas Common Law by

Defendants APFA, Julie Hedrick, and Erik Harris (“hereinafter Defendants”). APFA is a labor

organization covered under the LMRDA, 29 U.S.C. §401 et seq, and 29 U.S.C. § 158, et seq.

Plaintiff is a member in good standing of APFA as defined under the LMRDA and 29 U.S.C. §


6
  Def. Brief on Mtn. for Summ. J., Section entitled “Summary,” PAGEID 2425 (Defendant asserts that the Union Constitution is
a labor agreement under 301 LMRA § 185). Wooddell v. International Bhd. of Elec. Workers, 112 S.Ct. 494, 499,
116 L.Ed.2d 419 (1991); United Ass'n of Journeymen v. Local 334, 452 U.S. 615, 619-27, 101 S.Ct. 2546, 2549-53,
69 L.Ed.2d 280 (1981) (holds a labor agreement can only be a contract between an employer and the union to benefit the
employees, or a contract between two unions—the analysis thereof dependent on whether there is contractual language in the
Union Constitution creating a relationship between two unions. If, however, the language in the contract creates a relationship
between the union and its member, the suit for breach of the union constitution is a breach of contract claim falling under state
rather than federal jurisdiction.)
                                                                7
158. On or about January of 2016, the Plaintiff ran for office within the APFA local union elections.

For clarification, Robert “Bob” Ross ran for National President, Nena Martin ran for National Vice-

President, and Eugenio Vargas ran for National Treasurer.

           Plaintiff was elected National Treasurer, Nena Martin elected Vice-President, and Robert

“Bob” Ross President (“Ross Administration”). The Ross Administration opposed a merger

between APFA and AFA—another multi-airline flight attendants’ union.                                This created two

political factions within APFA competing for power: Pro-APFA/AFA and Anti-APFA/AFA.

Ross voluntarily stepped down from his position as National President on March 9, 2018 after

negotiating and signing a transition agreement with the APFA Board of Directors (”Transition

Agreement”). In 2020, the Hedrick Administration (a Pro-APFA/AFA Administration) was

elected to National Office.

           Plaintiff was fined by the union in a deliberate attempt to discourage his association with

Ross, to mar the Ross Administration’s reputation, and to suppress his dissent of the Hedrick

Administration and any proposed merger. 7 The Original Petition filed by Diversified Credit, the

debt collector that sued Ross in Tarrant County Justice Court, Precinct Three on the debt owed

under his Transition Agreement, contained a copy of a Confidential Memorandum (“Confidential

Memo”) from the accounting firm that conducted the review of Ross’s and Vargas’s alleged

overpayments. 8 The Affidavit of Nena Martin, a former Board member, shows that this information

was concealed by the officers as she attests to the statements made to the Board of Directors and

the Executive Committee.9



7
    Docket No. 1, Pl. Original Compl. ¶19, 50-51, PAGEID 4, 12; Martin Aff. [Appendix p. 16-21]; See Email from Hal O’Neil
to Erik Harris on October 22, 2020, [Appendix pp. 1-15].
8
  Docket No. 1, Pl. Original Compl. Confidential Memorandum, ¶ 17, 18, 19 PAGEID 4-5, 52; Confidential Memorandum,
[Appendix p. 1-3].
9
  Docket No. 1, Pl. Original Compl. Arbitration Award, PAGEID 15; Martin Aff. [Appendix p. 16-21].
                                                              8
        A quick comparison of the Confidential Memo and the letter from Erik Harris (current

APFA National Treasurer) illustrates APFA’s misrepresentations. 10 The Martin Affidavit and

letter from Erik Harris states:

        “. . . we discussed the finding of the APFA Board of Directors that you were
        overpaid in the amount of $5,436.47 in 2018. The Board’s finding was
        based on the results of a review from an independent accounting firm which
        determined that the formula used to determine the daily rate for your sick
        and vacation payout was incorrect.” 11

Whereas the Confidential Memo clearly states that the payments made to Ross “appear appropriate

and in compliance with the transition agreement.”12 In light of these two documents, it is clear that

the National Treasurer deliberately concealed the Confidential Memo so that Ross and Vargas

could be charged and the Exeuctive Committee vote to pursue disciplinary measures by portraying

them as having breached their fiduciary duties. The letter from Erik Harris asserts fraudulent

statements relied on by the APFA Board of Directors, the APFA Executive Committee, as well as

the arbitrator to issue the award against Ross and Vargas. 13

        APFA’s arbitration hearing denied Vargas a fair opportunity to review and contest the

evidence, to question accusers and witnesses, to object to unreliable and inadmissible evidence,

and to a fair opportunity to present his case. Consequently, the arbitration resulted in the union’s

favorable disciplinary award.

        Plaintiff was not provided the safeguards against improper disciplinary action guaranteed

under the LMRDA. Withholding documentation and misrepresenting the facts is an unconscionable


10
   Docket No. 1, Pl. Original Compl. Confidential Memorandum, ¶ 17, 18, 19 PAGEID 4-5, 52; Martin Aff.
[Appendix p. 16-20]; Confidential Memorandum, [Appendix p. 34, 3]; Email from Hal O’Neil to Erik Harris on
October 22, 2020, [Appendix pp. 1-15].
11
   Docket No. 1, Pl. Original Compl. Arbitration Award, PAGEID 15; Martin Aff. [Appendix p. 16-21].
12
   Docket No. 1, Pl. Original Compl. Confidential Memorandum, ¶ 17, 18, 19 PAGEID 4-5, 52; ; Martin Aff.
[Appendix p. 16-20]; Confidential Memorandum, [Appendix p. 34, 3]; Email from Hal O’Neil to Erik Harris on
October 22, 2020, [Appendix pp. 1-15].
13
   Docket No. 1, Pl. Original Compl. Arbitration Award, PAGEID 15; Martin Aff. [Appendix p. 16-21].
                                                         9
violation to Plaintiff’s right to a fair hearing and goes beyond any rational explanation that could

meet a reasonableness standard. The result of this conduct is that Plaintiff has been fined, suffered

reputational damage, and suspended from holding any official APFA position for the remainder of

his life. Plaintiff seeks to have the disciplinary award vacated, and damages recovered.


                               III.    ARGUMENTS AND AUTHORITIES

     A. Standards For Summary Judgment

        Federal Rule of Civil Procedure § 56 requires summary judgment be granted only upon

demonstration by the movant that no dispute exists as to any genuine issue of material fact. Movant

is entitled to judgment as a matter of law when no clear dispute exists. 14 Movant must use the

documents on record with the court to demonstrate the lack of any genuine issue of material fact. 15

When the moving parties argues for summary judgment on an issue for which it carries the burden

of proof at trial, no material fact dispute as to that issue can exist for the moving party to triumph. 16

If not, the motion for summary judgment must be denied. 17 In this case at issue, the Defendant,

APFA, must establish that a valid arbitration agreement existed between the parties to the contract

waiving their right to litigate claims. 18

        The Court must evaluate a motion for summary judgment through the lens of the non-

moving party by accepting all evidence and assuming all conclusions in the non-moving party’s




14
   Hunt v. Cromartie, 526 U.S. 541, 552 (1999); Fed. R. Civ. P. 56(c).
15
   Celotex Corp., 477 U.S. at 323; Fed. R. Civ. P. 56(c).
16
   Rizzo v. Children's World Learning Ctrs., Inc., 84 F.3d 758, 762 (5th Cir. 1996); Lindsey v. Sears Roebuck & Co.,
16 F.3d 616, 618 (5th Cir. 1994).
17
   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986); Burge v. Parish of St. Tammany, 187 F.3d 452, 465
(5th Cir. 1999).
18
   9 U.S.C. § 6.
                                                          10
favor.19 In other words, the Court must give credence to evidence favoring the non-moving party

and require the moving party’s offer unquestionably reliable evidence.

     B. The Threshold Issue:

                                        Timeline of Important Events
                Date                                                Union Conduct
 9/24/2019                                  - 1st Charges against Eugenio Vargas 20
 10/22/2020                             Email from APFA Accountant Hal O’Neil to APFA National
                                        Treasurer Erik Harris with Confidential Memo: Erik Harris
                                        receives email and Confidential Memo that absolves Ross from any
                                        over-payment of wages under the Transition Agreement. 21
 11/24/2021                                 - 2nd Charges against Eugenio Vargas22
 12/1/2021                                  - Harris conceals Confidential Memo but presents APFA
                                                accountant’s spreadsheets of Ross Administration’s
                                                overpayments to the Executive Committee. 23
                                            - Executive Committee reviews and votes in favor of charges
                                                against Ross and Vargas, without ever seeing concealed
                                                Confidential Memo24.
 03/24/2022                                 - APFA releases email Hotline to the entire APFA
                                                membership announcing Ross and Vargas’s awards for the
                                                first time in union history, congratulating Chinery and Lee
                                                for their pursuits. 25
 04/20/2022                                 - Robert “Bob” Ross files lawsuit against Julie Hedrick, Erik
                                                Harris, and APFA. 26
                                            - Harris Forwards Hal O’Neil’s email containing concealed
                                                Confidential Memo to the National Officers and Margot
                                                Nikitas (APFA in-house counsel). 27

        The threshold issue related to those claims asserted by either Plaintiff or Defendant rest on

one question: Does the National Treasurer’s concealment of the Confidential Memo from either

the Executive Committee reviewing Plaintiff’s charges, or the Arbitrator in Plaintiff’s Disciplinary



19
   See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-87 (1986); Taita Chem. Co., Ltd. v.
Westlake Styrene Corp., 246 F.3d 377, 385 (5th Cir. 2001).
20
   First Set of Charges, [Appendix pp. 54-57].
21
   Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15].
   2 set of Charges [Appendix p. 58-65]
22 nd
23
   Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15]; as compared to -- Martin’s
Affidavit, Email from Erik Harris to Board of Directors and Executive Committee [Appendix pp. 16-24].
24
   Second Set of Charges, APFA Receives Article VII Arbitration Award [Appendix pp. 63-65].
25
   APFA Nat’L Pres Hotline, 3/24//2022 [Appendix pp. 68-74].
26
    Docket No. 1, Pl. Original Pet., on Case No. 4:22-cv-00343-Y filed on April 20, 2022.
27
   Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix p. 1].
                                                          11
Hearing violate Plaintiff’s due process rights? Plaintiff is guaranteed the right to due process under

the APFA Const. Art. II, Sec. 3D, like federal law. 28 Plaintiff contends that his due process rights

have been violated based on misrepresentations by Erik Harris, APFA National Treasurer. 29 This

denial of due process is a breach of the union constitution. 30 Consequently, enforcement of an ill-

gotten disciplinary award is not appropriate.


     C. APFA’s Arbitration is a Disciplinary Procedure—wherein fraudulent statements
        were made to procure the votes to discipline Plaintiff.

         (1) Defendant’s causes of action are not subject to enforcement due to coercion and fraud.

         The Supreme Court has traditionally held that where members conduct gives rise to fines

or discipline, the courts will not enforce the fines if the members felt coerced or restrained in their

conduct. 31

         Here, Plaintiff was coerced in light of the misrepresentations portrayed to the Plaintiff and

the union.32 Plaintiff was never entitled to review the entire Transition Agreement and was

instructed on how to make these payments by the attorney that negotiated the Transition

Agreement. Now he is being persecuted for payments made thereunder when he was never entitled

28
   APFA Const. Art. II, Sec. 3D. [Appendix p. 37].
29
   See Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15]; Email from Erik Harris to
Board of Directors and Executive Committee [Appendix pp. 16-24]; Pl.’s Original Petition, Tarrant County Justice
Court, Precinct Three, JP03-22-D00017757 [Appendix pp. 25-29]; Affidavit of Ladonna Casey [Appendix pp. 50-
52]; Martin’s Affidavit [Appendix pp. 16-24].
30
   APFA Const. Art. II-III, [Appendix pp. 37-39].
31
   The Supreme Court held that the use of NLRA § 8(b)(1)(A) to impose union fines may not “restrain or coerce” the
fined worker in regard to the meaning within the Act. NLRB v. Allis-Chalmers Mfg. Co., 388 US 175 (1967).
Thereafter, the Supreme Court explained that “. . . . the basis of its holding in Allis-Chalmers was that Section
8(b)(1)(A) was ‘not intended by Congress to apply to the imposition by the union of fines not affecting the
employer-employee relationship and not otherwise prohibited by the Act." National Labor Relations Board v.
Boeing Co., 412 U.S. 67, 73, 93 S.Ct. 1952, 1956, 36 L.Ed.2d 752 (1973). Where, as here, Congress granted express
protection to the employer-representative relationship it cannot be said that Congress intended to leave the union as
free to discipline its members as it did in enacting Section 8(b)(1)(A).
32
   Plaintiff was told the same as the APFA Board of Directors and Executive Committee, See email from Erik Harris
to Board of Directors and Executive Committee [Appendix p. 16-24]; Pl.’s Original Petition, Tarrant County Justice
Court, Precinct Three, JP03-22-D00017757 [Appendix pp. 25-29]; Affidavit of Ladonna Casey [Appendix pp. 37-
38; Martin’s Affidavit [Appendix pp. 16-24].
                                                           12
to review the entire agreement and was following counsel. The email from Hal O’Neil (APFA

Accountant) to Erik Harris (APFA National Treasurer) shows imputed notice to the union through

delivery of documents to a union national officer. The Confidential Memo from Hal O’Neil was

delivered to Erik Harris on October 22, 2020. 33 Thereafter, APFA continued to assert that Ross

was overpaid under the Transition Agreement but simply refused to pay it back. 34 Harris was

present at the Executive Committee meeting on December 1, 2020 where the Ross and Vargas

charges were reviewed by the Executive Committee in compliance to the APFA Const. Art. VII

Sec. 2D.35          The Martin Affidavit shows that the National Treasurer never disclosed the

Confidential Memo at either Ross’s or Vargas’s review of charges and the Executive Committee

resolutions show that Harris was present, seconded the resolution, and voted in favor of pursing

disciplinary proceedings. 36

           Plaintiff’s motion to vacate the arbitration award was in compliance with the union

disciplinary procedures outlined in the APFA Const. Art. VII. The American Arbitration

Association’s guidance on challenging an arbitration award states “If a party to an arbitration

wishes to challenge an award for any reason, they need to make an application [or motion] to a

court. . .”37 As previously recognized by Defendants, APFA Arbitration procedures in the APFA

Const. Art. VII complies with the AAA’s arbitration standards; therefore Plaintiff followed the

guidance of the AAA and filed a motion to vacate the arbitration award due to the due process




33
     See Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix p. 1-2].
34
   Pl.’s Original Petition, Tarrant County Justice Court, Precinct Three, JP03-22-D00017757; [Appendix p. 14],
Affidavit of Ladonna Casey [Appendix p. 37-38]; Martin’s Affidavit [Appendix p. 16-24].
35
   APFA Const. [Appendix p. 45-46]; APFA Executive Committee Resolutions December 1-2, 2020, [Appendix p.
16-24].
36
   See APFA Executive Committee Resolutions December 1-2, 2020, [Appendix p. 63-65].
37
   American Arbitration Association; Challenges to an Arbitration Award; [Appendix p. 49].
                                                           13
violations outlined in the Federal Arbitration Act, 9 U.S.C. § 10. 38

         Plaintiff’s attempt to enforce the union’s fine directly conflicts AAA guidance and violates

the APFA Const. for due process as the National Treasurer misrepresented the facts to the APFA

Board of Director’s and the APFA Executive Committee which caused many to vote for that these

charges were valid, timely, and specific. 39 In reality, Plaintiff contests that his due process rights

were violated under the APFA Const. II, Sec. 3D, and that the votes by the Executive Committee

were illegally procured. 40


     D. Disputed Facts: Arbitration in accordance with APFA Constitution.

         Despite this obvious problem of side-stepping the lack of due process afforded to the

Plaintiff, the union characterized many factual contentions as “undisputed,” that were, and

continue to be, contested by the Plaintiff. Plaintiff contests Defendant’s assertion of the following

material facts.

         (1) Charges were brought against Plaintiff in accordance with the APFA Constitution;41

         (2) The Arbitrator was impartial;42

         (3) The Arbitrator acted within his jurisdictional authority;43

         (4) Internal union charges were filed against Vargas alleging serious acts of financial

             misconduct; 44


38
   Def. Answer and Counterclaims filed as Docket No. 8, ¶20, PAGEID 113, on Case No. 4:22-cv-00343-Y case,
and AAA, Challenges to an Arbitration Award; [Appendix p. 49].
39
   45 USC Ch. 8, Sec. 157.
40
   APFA Const. Art. VII, [Appendix p. 32-35]; See Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix
p. 1-15], Email from Erik Harris to Board of Directors and Executive Committee [Appendix p. 16-24]; Pl.’s Original
Petition, Tarrant County Justice Court, Precinct Three, JP03-22-D00017757; [Appendix p. 25-29], Affidavit of
Ladonna Casey [Appendix p. 50-51].
41
   Docket No. 44, Def. Br. in Support of Mot. for Summ. J., PAGEID 2426.
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44
   Docket No. 44, Def. Br. in Support of Mot. for Summ. J., PAGEID 2426.
                                                          14
        (5) APFA was not a party to the arbitration. 45

        Defendant fails to address Plaintiff’s primary allegation—Defendants fraudulent

misrepresented evidence to the APFA Board of Directors, APFA Executive Committee, and

interfered throughout the union disciplinary hearings which violated Plaintiff’s due process

rights. 46 Defendant fails to address Harris’s actions, witness intimidation, and defiance of legally

issued subpoenas. 47 Fraud is not tolerated in union disciplinary actions—so without addressing the

Plaintiff’s claims of fraud, Defendant’s summary judgment arguments are moot.

             1) Disputed Fact: Charges were brought against Plaintiff in accordance with the APFA
                Constitution.

        Defendant asserts that the charges for financial misconduct were bought against Plaintiff

in accordance with APFA Constitution. However, the charges brought against the Plaintiff were

well outside the 60-day window as required by the APFA Const. Art. VII Sect. 2(D)(1) and

violated the union constitution’s guarantee of due process rights. 48 The evidence illustrates that

the first set of charges filed against Plaintiff were dismissed for lack of timeliness. 49 Furthermore,

the second set of similar charges were brought in violation of the APFA Const. Art. VII, Section

3(B) and should have been dismissed without appeal. 50

        The timing is quite revealing: two differences exist between the Executive Committee’s


45
    Docket No. 44, Def. Br. in Support of Mot. for Summ. J., PAGEID 2426.
46
    Docket No. 1, Pl. Original Compl, ¶ 37-44 PAGEID 9-10,; Docket No. 41; Pl. 2cd Am. Resp. to Def. Mtn to
Dismiss, PAGEID 2551; Affidavit of Nena Martin, Email from Erik Harris to Board of Directors and Executive
Committee [Appendix p. 19-24]; Pl.’s Original Petition, Tarrant County Justice Court, Precinct Three, JP03-22-
D00017757; [Appendix p. 34], Affidavit of Ladonna Casey [Appendix p. 50-51].
47
    Docket No. 1, Pl. Original Compl, ¶ 37-44 PAGEID 9-10,; Docket No. 41; Pl. 2cd Am. Resp. to Def. Mtn to
Dismiss, PAGEID 2551; Affidavit of Nena Martin, [Appendix p. 16-24]; Email from Erik Harris to Board of
Directors and Executive Committee [Appendix p. 19-24]; Pl.’s Original Petition, Tarrant County Justice Court,
Precinct Three, JP03-22-D00017757; [Appendix p. 34], Affidavit of Ladonna Casey [Appendix p. 50-51].
 48
    Docket No. 1, Pl. Original Compl, ¶ 37-44 PAGEID 6-7. PAGEID 6-7, First and Second set of Charges against
Vargas [Appendix p. 53-65].
49
    First and Second set of Charges against Vargas [Appendix p. 53-65]; Chinery Social Media Post [Appendix p. 66-
66-67].
50
    APFA Const. Art. 7, Sec. 3(B); [Appendix p. 47];, Docket No. 1, Pl. Original Compl, ¶ 37-44 PAGEID 13-14.
                                                         15
review of the first set of charges and the second charges against Plaintiff. First, a new leadership

was voted into office as of April, 2020. Second, Hal O’Neil emailed the spreadsheets and the

Confidential Memo to Erik Harris on October 22, 2020 spreadsheets were procured by Erik Harris,

and he used these to convince the Executive Committee to vote for the charges.


            1) Disputed Fact: The Arbitrator was impartial.

        Defendant further contends that the arbitration was impartial. Plaintiff argues that the

arbitration was conducted with partiality that favored the Defendants. 51 The Arbitrator struck an

affidavit from the record for one of Plaintiff’s witnesses wherein the witness testified that she was

afraid of retaliation by the union. This conduct by the union could be construed as witness

intimidation—another violation of due process. 52 The Arbitrator justified this action by demanding

witnesses testify in person—a move particularly concerning during the rise of the COVID-19 Delta

Variant. Most concerning, however, is that the Arbitrator took no action to ensure the Plaintiff’s

right to a fair trial. 53 The Arbitrator ignored all indications that the union’s conduct frustrated

Plaintiff’s rights despite receiving evidence to the contrary. Since the filing of this lawsuit, the

union continues to intimidate witnesses as Chinery-Burns and Lee have requested confidential

financial documents for the representatives and witnesses of the Ross Administration’s

arbitrations.


            2) Disputed Fact: The Arbitrator acted within his jurisdictional authority.

        Defendant contends that Plaintiff does not dispute the Arbitrator acted within his

authority—this is not accurate. The procedures outlined and guaranteed by the APFA Const. Art.


51
   Docket No. 1, Pl. Original Compl, ¶ 28-35 PAGEID 6-7.
52
   Affidavit of Ladonna Casey [Appendix p. 50-51].
53
   Affidavit of Ladonna Casey [Appendix p. 50-51].
                                                     16
VII to refer disciplinary charges to a disciplinary hearing were breached. 54 Furthermore, Plaintiff

contended to the Arbitrator that these charges were brought outside of the 60-day limitations

period, however his objections were ignored. 55

        The Arbitrator acts outside his authority when he fails to properly follow procedure

according to the APFA Const. for failure to dismiss the charges as untimely.56 This ruling directly

contradicts the evidence misrepresented and withheld from Vargas’s hearing.


             3) Disputed Fact: Internal union charges were filed against Vargas alleging serious
                acts of financial misconduct.

        Defendant states that there is no contested issue regarding the union charges against

Plaintiff for serious acts of financial misconduct. This, again, improperly frames the charges

asserted in the arbitration. The arbitration charges only assert that Plaintiff willfully violated the

Union Constitution and Policy.57 Therefore, any claim that Plaintiff violated his breach of

fiduciary duty, misappropriated funds, stole, or committed acts of financial misconduct are well

outside the scope of the charges asserted as these are civil and criminal sanctions that should be

established by a court of law.58


             4) Disputed Fact: APFA was not a party to the arbitration.

        Finally, Defendant states that the Union was not a party to the arbitration hearing. In fact,


54
   APFA Const. Art. VII, Section 2(D)(2) [Appendix p. 46]; Docket No. 1, Pl. Original Compl, ¶ 45-51 PAGEID 9-
10.
55
   APFA Const. Art. VII, Section 2(D)(2) [Appendix p. 46]; Docket No. 1, Pl. Original Compl, ¶ 45-51 PAGEID 9-
10.
56
   APFA Const. Art. VII, Section 2(D)(2) [Appendix p. 46]; Docket No. 1, Pl. Original Compl, ¶ 45-51 PAGEID 9-
10.
57
   First and Second set of Charges against Vargas [Appendix p. 39-51].
58
   The court should note that prior to the arbitration, Eugenio Vargas had repaid the amounts claimed he owed due to
overpayments made upon departure in an effort to resolve these matters. The arbitration pursued him for mistakenly
changing the calculation and paying Ross his payments under the Transition Agreement, despite that Vargas was
never able to fully view the Transition Agreement to understand how payments should be calculated. Either way,
the payments
                                                            17
Plaintiff asserted in its original complaint that Melissa Chinery and Sandra Lee acted on behalf of

the union, as a whole and in a representative capacity.59 Furthermore, Plaintiff previously argued

that APFA leadership conducted the arbitration, as is the responsibility of the National Secretary

and the National Treasurer. 60

        Finally this is not conduct isolated to only Chinery and Lee, as evidenced by the email

received by Erik Harris. It is undeniable that he received this email on October 22, 2020, and

clearly failed to forward this email until two years later to the rest of the union.61 This indicates a

national officer concealed these documents in an effort to achieve the votes on the Executive

Committee necessary to discipline the Plaintiff. 62


     E. Defendant’s Breach of Fiduciary Duty Claims

        Defendant asserts claims for breach of fiduciary duty under both LMRDA § 501 as well as

under Texas Common Law. Though Defendant did not file its motion for summary judgment as

a partial summary judgment, it also failed to adequately list the elements of these claims within

the Brief filed in support of the summary judgment. Plaintiff will address both claims as a result.

           The claim for a breach of fiduciary duty under LMRDA § 501 provides only a claim on

behalf of the members and not the union, nor can Defendant recover on both claims, as they are

duplicative in nature—recovery can only be obtained under the Texas common law claim for




59
   Docket No. 1, Pl. Original Compl, ¶ 45-51 PAGEID 9-10.
60
   Docket No. 41; Pl. 2cd Am. Resp. to Def. Mtn to Dismiss, PAGEID 2551.
61
   See Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix pp. 1-15]
62
   See Email from Hal O’Neil to Erik Harris on October 22, 2020, [Appendix p. 1-15], Email from Erik Harris to
Board of Directors and Executive Committee [Appendix p. 16-24]; Pl.’s Original Petition, Tarrant County Justice
Court, Precinct Three, JP03-22-D00017757; [Appendix p. 25-29], Affidavit of Ladonna Casey [Appendix p. 50-51].

                                                      18
breach of fiduciary duty.63 Therefore, Plaintiff will isolate its arguments to only Defendant’s

common law cause of action for breach of fiduciary duty.

          Under Texas law, the elements of a claim for breach of fiduciary duty are: 1) there is

fiduciary relationship between the plaintiff and defendant; 2) the defendant breached his fiduciary

duty to the plaintiff; and 3) the defendant's breach proximately caused injury to the plaintiff or

benefit to the defendant.64

          Plaintiff was charged and disciplinary hearings were conducted in which the evidence

admitted was falsified or inaccurate documentation. 65 Furthermore, there was evidence of witness

intimidation as a means to discourage Plaintiff’s witnesses. 66 Hearsay evidence was admitted and

used to substantiate several financial charges in which the Arbitrator relied on to find Plaintiff

violated APFA policy and guilty of his fiduciary duty. The falsified documents from the

accounting firm, the hearsay documents were all inadmissible evidence used to support a finding

that Plaintiff breached his fiduciary duty. The Arbitrator reviewed and disallowed an affidavit

testifying as to witness intimidation by the union, and yet still the arbitration hearing continued.

All of the national officers were subpoenaed to appear and testify, yet only Erik Harris, the

National Treasurer, appeared and testified. Consequently, denial of the motion for summary

judgment should be granted based upon the fact that no reliable and admissible evidence were


63
  Int'l Bhd. of Teamsters Local 651 v. Philbeck, 423 F.Supp.3d 364 (E.D. Ky. 2019) (“There is a circuit split regarding whether §
501 of the LMRDA provides a union with a federal cause of action against a union official for breach of a fiduciary duty).
(Compare Building Material and Dump Truck Drivers, Local 420 v. Traweek, 867 F.2d 500 (9th Cir. 1989) (finding no implied
cause of action), with International Union Pacific Operating Eng. v. Ward, 563 F.3d 276 (7th Cir. 2009); International Union of
Electronic, Electrical, Salaried, Machine & Furniture Workers, AFL-CIO v. Statham , 97 F.3d 1416 (11th Cir. 1996) (finding an
implied cause of action); Int'l Union, Sec. Police & Fire Professionals of Am. v. Faye , 828 F.3d 969, 975 (D.C. Cir.
2016). (concluding that the union is a proper plaintiff under § 501 ). (The Supreme Court has acknowledged the split of authority
but declined to resolve the issue. . . . The Ninth Circuit interpreted § 501 to mean that suits are available to individual members of
the union, not the union itself. Traweek , 867 F.2d at 506-07. The court explained that federal jurisdictional statutes should be
construed narrowly and there is a "federal policy of noninterference in the internal affairs of unions and labor matters.").
64
   Jones v. Blume, 196 S.W.3d 440, 447 (Tex. App.- Dallas 2006, pet. denied).
65
   Affidavit of Ladonna Casey [Appendix p. 37-38].
66
   Affidavit of Ladonna Casey [Appendix p. 37-38].
                                                       19
admitted supporting the charges.




                             IV.    CONCLUSION AND PRAYER

       For the reasons state herein, Plaintiff requests that the Court deny Defendant’s Motion for

Summary Judgment and set this matter for trial.


                                               Respectfully submitted,
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                               CERTIFICATE OF SERVICE

          I certify that true and correct copy of this document was sent to all counsel of
  record, hereunder listed via ECF filing on this the 1st day of November 2022.

  William Osborne, Sanford Denison
                                                               /s/Kerri Phillips
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